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                                   UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

 John Hull,                                              )


                   Plaintiff,                            )
                                                         )
           vs.                                           )          Case No. 4:22-cv-00768-UNA
                                                         )
 Martin Transportation Systems, Inc. et al,              )
                                                         )
                                                         )
                   Defendants.                           )

                                                    ORDER

          The above styled and numbered case was opened on 7/20/2022 and assigned to the Eastern

Division.

          After a review of the case, it was determined the case was assigned incorrectly. The case should

have been assigned to the Northern Division.

          Accordingly, IT IS HEREBY ORDERED that the above styled case is transferred to the

Northern Division and assigned to the Honorable Nannette A. Baker, United States Magistrate Judge,

under case number 2:22-cv-00043-NAB.

          IT IS FURTHER ORDERED that case number 4:22-cv-00768-UNA be administratively

closed.


                                                             GREGORY J. LINHARES
                                                              CLERK OF COURT



Dated: July 22, 2022                                            By: /s/ Michele Crayton
                                                                Court Services Manager


In all future documents filed with the Court, please use the following case number 2:22-cv-00043 NAB..
